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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

In re:                                        §
James Douglas Butcher                         §      CASE NO.        23-34075-H4
                                              §
                                              §
Debtor                                        §      Chapter 13

                 TRUSTEE’S MOTION TO DISMISS OR CONVERT

                    NOTICE PURSUANT TO LOCAL RULE 9013

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU.
IF YOU OPPOSE THIS MOTION, YOU SHOULD IMMEDIATELY CONTACT
THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE
MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND
SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE
YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS MOTION WAS
SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE MOTION
SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE,
THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU.
IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN
AGREEMENT, YOU MUST ATTEND THE HEARING.          UNLESS THE
PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE
AT THE HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

IF A TIMELY RESPONSE IS FILED, A HEARING WILL BE HELD ON
JANUARY 22, 2024 AT 9:00 AM IN THE U.S. COURTHOUSE, 515 RUSK,
COURTROOM 401, 4TH FLOOR HOUSTON, TEXAS.

TO THE HONORABLE U.S. BANKRUPTCY JUDGE:

         David G. Peake, Chapter 13 Trustee (“Trustee”), in the above styled case, files

this Motion to Dismiss and in support thereof would show the following:

         1.     A Chapter 13 voluntary bankruptcy petition was filed by James Douglas

Butcher (“Debtor”) on October23, 2023.        Debtor filed his Schedules and Statement of

Financial Affairs, on November 15, 2023 [docket no. 12].

         2.     The Trustee files this motion because the Debtor is ineligible for Chapter

13 relief. Pursuant to 11 U.S.C. §109(e), persons seeking relief under Chapter 13 must

have debts within the statutorily defined allowable debt limits, more specifically:
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         Only an individual with regular income that owes, on the date of the filing
         of the petition, noncontingent, liquidated debts of less than $2,750,000 or
         an individual with regular income and such individual’s spouse, except a
         stockbroker or a commodity broker, that owe, on the date of the filing of
         the petition, noncontingent, liquidated debts that aggregate less than
         $2,750,000 may be a debtor under chapter 13 of this title.

Additionally, eligibility for relief is determined on the date of filing the petition;

therefore, Debtors are not eligible to be debtors under Chapter 13 of the Bankruptcy

Code.     In Re Nikoloutsos, 199 F. 3d 233 (5th Cir. 2000); see also In Re Hatzenbuehler,

282 B.R. 828 (2002). In Hatzenbuehler, the Court’s language specifically states that

“[i]f a debt is ‘owed’ on the date of the filing of the petition and is liquidated and not

contingent, it must be counted in analyzing a debtor’s eligibility for chapter 13.” Id. at

834.

         3.     Based on Debtor’s uncontroverted Schedules filed on November1, 2023,

[docket no. 12], his total non-contingent and liquidated debt is listed as $4,402,865.44.

This amount of debt exceeds the statutory limitation of $2,750,000.00, thereby, making

Debtor ineligible for Chapter 13 relief.

         4.     The Chapter 13 Plan must be amended to provide for the claims of the

secured and priority Creditors in full within the terms of the Plan. The debtor failed to

provide tax appraisals for all real property to the Trustee. The debtor failed to amend

Schedule I to list all of wife’s income. The Debtors have caused unreasonable delay that

is prejudicial to the Creditors.

         Wherefore, the Trustee requests this Court to dismiss this case and to grant him

such other and further relief to which he may be entitled.

                                   Respectfully submitted,

                                   David G. Peake, Chapter 13 Trustee

                                   By:    /s/ Richard W. Aurich, Jr.
                                          TX Bar No. 00792339
                                          9660 Hillcroft, Suite 430
                                          Houston, TX 77096
                                          Tel: 713-283-5400
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                                   Fax: 713-852-9084
                                   Attorney for David G. Peake, Chapter 13 Trustee




                           CERTIFICATE OF SERVICE

       A copy of foregoing Motion to Dismiss was served as indicated on December
22,2023, upon the following:
James Douglas Butcher                     U.S. Mail
480 Kirby Rd.
Taylor Lake Village, TX 77586

Reese W. Baker                            CM/ECF electronic delivery
950 Echo Ln, Ste 300
Houston, TX 77024

                                          /s/ Richard W. Aurich, Jr.
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Debtor's Attorney of Record:           Debtor:
REESE W BAKER                          James Douglas Butcher
BAKER & ASSOCIATES                     480 Kirby Rd
950 ECHO LANE SUITE 300                Taylor Lk Vlg, TX 77586-5201
HOUSTON, TX 77024

AIS PORTFOLIO SERVICES LLC             BARRETT DAFFIN FRAPPIER TURNER & ENGEL
ATTN: FORD MOTOR CREDIT COMPANY LLC    LLP
DEPT                                   4004 BELT LINE ROAD SUITE 100
4515 N SANTA FE AVE                    ADDISON, TX 75001
OKLAHOMA CITY, OK 73118

CAPITAL BANK                           CAPITAL BANK
10304 I-10 EAST                        10604 I-10 EAST
HOUSTON, TX 77029                      HOUSTON, TX 77029

CAPITAL ONE                            CAPITAL ONE
6101 FAIRMONT PARKWAY, STE C           1680 CAPITAL ONE DR
PASADENA, TX 77504                     MCLEAN, VA 22102

CAPITAL ONE                            CHASE MORTGAGE
PO BOX 60519                           PO BOX 78420
CITY OF INDUSTRY, CA 91716             PHOENIX, AZ 85062

CLEAR CREEK INDEPENDENT SCHOOL        CLEAR CREEK ISD
DISTRICT                              PO BOX 799
C/O MELISSA E VALDEZ                  LEAGUE CITY, TX 77574-0799
PERDUE BRANDON FIELDER COLLINS & MOTT
LLP
1235 NORTH LOOP WEST SUITE 600
HOUSTON, TX 77008

CLEAR CREEK ISD TAX OFFICE             CLEAR LAKE CITY WATER AUTHORITY
2425 E MAIN                            C/O MELISSA E VALDEZ
LEAGUE CITY, TX 77573                  PERDUE BRANDON FIELDER COLLINS & MOTT
                                       LLP
                                       1235 NORTH LOOP WEST SUITE 600
                                       HOUSTON, TX 77008

CLEAR LAKE CITY WATER AUTHORITY        FORD CREDIT
900 BAY AREA BLVD                      PO BOX 650575
HOUSTON, TX 77058                      DALLAS, TX 75265

FROST BANK                             HARRIS COUNTY
PO BOX 1600                            PO BOX 4622
SAN ANTONIO, TX 78296                  HOUSTON, TX 77210

JOHN RESENDEZ                          LINCOLN AUTOMOTIVE FIN
425 SOLEDAD ST STE 600                 PO BOX 542000
SAN ANTONIO, TX 78205-1558             OMAHA, NE 68154
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MERCEDES-BENZ CREDIT                  PASADENA INDEPENDENT SCHOOL DISTRICT
PO BOX 685                            C/O MELISSA E VALDEZ
ROENOKE, TX 79262                     PERDUE, BRANDON, FIELDER, COLLINS, &
                                      MOTT LLP
                                      1235 NORTH LOOP WEST, SUITE 600
                                      HOUSTON, TX 77008

PASADENA ISD                          PERDUE, BRANDON, FIELDER, COLLINS &
PO BOX 1318                           MOTT, L.L.P.
PASADENA, TX 77501-1318               c/o MELISSA E. VALDEZ
                                      1235 NORTH LOOP WEST, SUITE 600
                                      HOUSTON, TX 77008

REESE W BAKER                         SAMS CLUB
BAKER & ASSOCIATES                    170 ELECTION RD
950 ECHO LANE SUITE 300               DRAPER, UT 08402
HOUSTON, TX 77024

SAVINGS ACCOUNT                       SHELL FCU
, TX                                  ATTN: BANKRUPTCY DEPARTMENT
                                      PO BOX 578
                                      DEER PARK, TX 77536

SHELL FEDERAL CREDIT UNION            STELLER BANK
PO BOX 578                            9 GREENWAY PLAZA SUITE 110
DEER PARK, TX 77536                   HOUSTON, TX 77046

SYNCB/LOWES                           SYNCHRONY BANK/SAMS
PO BOX 965060                         PO BOX 965060
ORLANDO, FL 32896-5060                ORLANDO, FL 32896

SYNCHRONY-LOWES                       TAYLOR LAKE VILLAGE
170 ELECTION RD STE 125               1235 NORTH LOOP WEST SUITE 600
DRAPER, UT 84020                      HOUSTON, TX 77008

TXU/TEXAS ENERGY                      WELLS FARGO BANK, N.A.
PO BOX 650700                         PO BOX 14487
DALLAS, TX 75265                      DES MOINES, IA 50309

WEYCER KAPLAN PULASKI & ZUBER
24 GREENWAY PLZ STE 2050
HOUSTON, TX 77046
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                               IN THE UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION


IN RE:                                                       §     CASE NO. 23-34075-H4
                                                             §
James Douglas Butcher
                                                             §
                                                             §
DEBTOR                                                       §
                                                                   CHAPTER 13
                                                             §
                                              ORDER OF DISMISSAL

     1.   On the chapter 13 trustee’s motion, this case is dismissed. The Court’s reasons for dismissal were
          stated on the record in open court.

     2. The deadline for filing an application for an administrative expense in this case is set at 21 days following
        entry of this order. The deadline for filing a motion for allowance of a claim arising under § 507(b) in this
        case is also set at 21 days following entry of this order .

     3. If an application for allowance of professional fees and expenses has previously been filed in this case ,
        the applicant is not required to file a new application for allowance of administrative expenses under §
        503, if the new application only seeks allowance of the same professional fees and expenses previously
        requested.

     4. Any prior order directing an employer or other person to pay funds to the chapter 13
        trustee is terminated. Any prior order authorizing an ACH or other means of electronic payment is
        terminated.

     5. The Court finds good cause to direct the payment of funds held by the chapter 13 trustee at the time
        of entry of this Order as follows:

          (a) First, the balance on hand in the Emergency Savings Fund will be paid to the
           Debtor(s);

          (b) Second, to any unpaid chapter 13 trustee’s statutory compensation;

          (c) Third, the balance on hand in the Reserves for ad valorem taxes , to the holder of the
          claim secured by the senior security interest against the property for which the Reserves
          were established;

          (d) Fourth, the balance in any other Reserve account to the Debtor;

          (e) Fifth, to any unpaid payments mandated to be made by the Trustee under a prior
          Court order, including but not limited to any mandated adequate protection payments;

          (f) Sixth, to pay any unpaid fees to Debtor(s)’ attorneys and to reserve for any filed
           applications for which no order has yet been entered; and

          (g) Seventh, to the Debtor(s).
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Any party-in-interest objecting to the “for cause” distributions under this paragraph 5 must file an objection within
14 days of entry of this Order. The Chapter 13 Trustee will defer making distributions under this paragraph 5 until
the next ordinary disbursement date following the later of (i) 22 days following entry of this Order; or (ii) entry of an
order resolving any timely filed objection .


Dated:


                                                            CHRISTOPHER M LOPEZ
                                                            United States Bankruptcy Judge
